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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



 SARAH A. BULUT,                                     Civil Action No. 18-9303 (JMV)

                  Plaintiff,

 v.


 JP MORGAN CHASE BANK, N.A.,
 et al.,
                                                             ORDER
                    Defendants.



       IT IS on this 11th day of July 2019,

      ORDERED that, there shall be an IN-PERSON hearing regarding Plaintiffs’
counsel’s motion to withdraw as counsel before the Undersigned on July 23, 2019, at
10:00 a.m. at the United States Post Office & Courthouse, 1 Federal Square, Courtroom
9, Newark, New Jersey; and it is further

       ORDERED that, in addition to counsel, the named Plaintiff, Sarah Bulut, is
required to attend the hearing IN-PERSON. Any failure to appear may result in the
imposition of the full range of available sanctions, including dismissal of the case with
prejudice. See Fed. R. Civ. P. 16(f), 37; and it is further

       ORDERED that, Plaintiff’s current counsel, Stark & Stark, PC, is required to
serve a copy of this Order on Ms. Bulut by regular and overnight mail and file proof of
service on the docket. Service shall be effected within 2 business days.


                                          s/Mark Falk________________
                                          MARK FALK
                                          United States Magistrate Judge
